CSCS AHA ND Wn FP W NO

Oo NY NY NY NY NY NY NN NN KH HR FR KF Fe ee ee eR
CoN DD Un FP WwW NYO KF OD O DW NI WDB WN BP W YPO KF CO

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,

Plaintiff,
Vv.
David Allen Harbour,
Defendant.

No. CR-19-00898-001-PHX-DLR
FINAL JURY INSTRUCTIONS

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NO NO NH HN NY HN ND HD BD 6 me pe pe kk fk fateh ek
oO NI ONO NW BP WY Ol KRU OllUlUCUCCOUUCOCUODOCUMUA SOD MC ROW ee NL Dl

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DUTIES OF JURY TO FIND FACTS AND FOLLOW LAW
Members of the jury, now that you have heard all the evidence, it is my duty to

instruct you on the law that applies to this case. A copy of these instructions will be
available in the jury room for you to consult.

It is your duty to weigh and to evaluate all the evidence received in the case and, in
that process, to decide the facts. It is also your duty to apply the law as I give it to you to
the facts as you find them, whether you agree with the law or not. You must decide the
case solely on the evidence and the law. You will recall that you took an oath promising
to do so at the beginning of the case. You should also not be influenced by any person’s
race, color, religious beliefs, national ancestry, sexual orientation, gender identity, gender,
or economic circumstances. Also, do not allow yourself to be influenced by personal likes
or dislikes, sympathy, prejudice, fear, public opinion, or biases, including unconscious
biases. Unconscious biases are stereotypes, attitudes, or preferences that people may
consciously reject but may be expressed without conscious awareness, control, or intention.

You must follow all these instructions and not single out some and ignore others;
they are all important. Please do not read into these instructions or into anything I may
have said or done any suggestion as to what verdict you should return—that is a matter

entirely up to you.

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CHARGES AGAINST DEFENDANT NOT EVIDENCE—PRESUMPTION
OF INNOCENCE—BURDEN OF PROOF

The indictment is not evidence. The defendant has pleaded not guilty to the charges.
The defendant is presumed to be innocent unless and until the government proves the
defendant guilty beyond a reasonable doubt. In addition, the defendant does not have to
testify or present any evidence. The defendant does not have to prove innocence; the
government has the burden of proving every element of the charges beyond a reasonable

doubt.

Oo Fe NT DBA FP W NY

NO seo DYNO NO HN HN KN DN ND kr ee
oO SN DN AT FF W NY KH DO Be nH HD Wn FF W YPN KF OC

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DEFENDANT’S DECISION NOT TO TESTIFY

A defendant in a criminal case has a constitutional right not to testify. In arriving
at your verdict, the law prohibits you from considering in any manner that the defendant

did not testify.

Oo Fe IHN DW FPF WY YN eX

NO NNO NHN YO KN HP KH KN HNO EH Bir me ee
oo 47 HD Ow FB W NH KF CO OO fe I DB A BP WO NBO —& CO

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REASONALBE DOUBT—DEFINED

Proof beyond a reasonable doubt is proof that leaves you firmly convinced the
defendant is guilty. It is not required that the government prove guilt beyond all possible
doubt.

A reasonable doubt is a doubt based upon reason and common sense and is not based
purely on speculation. It may arise from a careful and impartial consideration of all the
evidence, or from lack of evidence.

If after a careful and impartial consideration of all the evidence, you are not
convinced beyond a reasonable doubt that the defendant is guilty, it is your duty to find the
defendant not guilty. On the other hand, if after a careful and impartial consideration of all
the evidence, you are convinced beyond a reasonable doubt that the defendant is guilty, it

is your duty to find the defendant guilty.

Co fe IND UH FP W YN

DO po NO BH KH HN KH KO NO RRR Rm ee te ele
oN DW OH PSP WY NYO KF CO ODO OO HI DW FP WY NY F- O&O

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WHAT IS EVIDENCE

The evidence you are to consider in deciding what the facts are consists of:
First, the sworn testimony of any witness;
Second, the exhibits received in evidence; and

Third, any facts to which the parties have agreed.

Co Oo INI DW ON PSP WY NO

NO NO PO NO DN NYO DN NO NO mm RR Oe
oOo ny Hn UO FP WD NY KF DOD OO FN DA BPW NY | CO

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WHAT IS NOT EVIDENCE

In reaching your verdict you may consider only the testimony and exhibits received

in evidence. The following things are not evidence, and you may not consider them in

deciding what the facts are:

1.

Questions, statements, objections, and arguments by the lawyers are not
evidence. The lawyers are not witnesses. Although you must consider a
lawyer’s questions to understand the answers of a witness, the lawyer’s
questions are not evidence. Similarly, what the lawyers have said in their
opening statements, will say in their closing arguments, and have said at
other times is intended to help you interpret the evidence, but it is not
evidence. If the facts as you remember them differ from the way the lawyers
state them, your memory of them controls.

Any testimony that I have excluded, stricken, or instructed you to disregard
is not evidence. In addition, some evidence was received only for a limited
purpose; when I have instructed you to consider certain evidence in a limited
way, you must do so.

Anything you may have seen or heard when the court was not in session is
not evidence. You are to decide the case solely on the evidence received at

the trial.

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BO NO KR KN KH KN KH BO NO RR Re Re ee ee eee
oN DW UU PSP WO YN KF COD Oo Fe NT DBA FP W NY KF CO

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DIRECT AND CIRCUMSTANTIAL EVIDENCE

Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
such as testimony by a witness about what that witness personally saw or heard or did.
Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts from
which you can find another fact.

You are to consider both direct and circumstantial evidence. Either can be used to
prove any fact. The law makes no distinction between the weight to be given to either
direct or circumstantial evidence. It is for you to decide how much weight to give to any

evidence.

oO Oo HN DB WH FP WY NY

BO HNO NO YN KN NY HN KN DO RR RRR
oOo ST DO OH BR WY NO KF CO O fF HIN DH NH BP WW NO KY C&S

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CREDIBILITY OF WITNESSES

In deciding the facts in this case, you may have to decide which testimony to believe
and which testimony not to believe. You may believe everything a witness says, or part of
it, or none of it.

In considering the testimony of any witness, you may take into account the
following:

First, the opportunity and ability of the witness to see or hear or know the things

testified to;

Second, the witness’s memory;

Third, the witness’s manner while testifying;

Fourth, the witness’s interest in the outcome of the case, if any;

Fifth, the witness’s bias or prejudice, if any;

Sixth, whether other evidence contradicted the witness’s testimony;

Seventh, the reasonableness of the witness’s testimony in light of all the evidence;

and

Eighth, any other factors that bear on believability.

Sometimes a witness may say something that is not consistent with something else
he or she said. Sometimes different witnesses will give different versions of what
happened. People often forget things or make mistakes in what they remember. Also, two
people may see the same event but remember it differently. You may consider these
differences, but do not decide that testimony is untrue just because it differs from other
testimony.

However, if you decide that a witness has deliberately testified untruthfully about
something important, you may choose not to believe anything that witness said. On the
other hand, if you think the witness testified untruthfully about some things but told the

truth about others, you may accept the part you think is true and ignore the rest.

Co wont DH OO FP WD NHN Ke

NO pO NH HN HN PO KD DD er pp pee fk fk pak pat
Oo sa DB ON FPF WO NO KF DTD ODO CO HS HD A FBP WW NYO | C&C

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The weight of the evidence as to a fact does not necessarily depend on the number
of witnesses who testify. What is important is how believable the witnesses were, and how

much weight you think their testimony deserves.

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LAW ENFORCEMENT WITNESSES
You have heard testimony of law enforcement officers and government employees.
The fact that a witness may be employed as a law enforcement officer does not mean that
his or her testimony is necessarily deserving of more or less consideration or greater or
lesser weight than that of an ordinary witness.
It is your decision, after reviewing all the evidence, whether to accept the testimony
of the law enforcement witness and to give to that testimony whatever weight, if any, you

find it deserves.

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DO bo NO DN NHN BR NO BR HN wr wy wm RR RR RL RL
oO sa DB A FS WD NY SKY& DT ODO fF IF DN FP WD NO KF CSC

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STATEMENTS BY DEFENDANT

You have heard testimony that the defendant made a statement. It is for you to
decide (1) whether the defendant made the statement, and (2) if so, how much weight to
give to it. In making those decisions, you should consider all the evidence about the

statement, including the circumstances under which the defendant may have made it.

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Oo Oo SDB BP WD NO =

NO NO HN KH KH HN KH KD DRO Bw rm ee
oo nN DB On FF WD NO KF CD DO DH AT DB Wn FR WD NBO KY CO

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OPINION EVIDENCE, EXPERT WITNESS
You have heard testimony from Dr. Robert Manning and Cathy Cameron who testified

to opinions and the reasons for their opinions. This opinion testimony is allowed because
of the education or experience of these witnesses.

Such opinion testimony should be judged like any other testimony. You may accept
it or reject it, and give it as much weight as you think it deserves, considering the witness’s
education and experience, the reasons given for the opinion, and all the other evidence in

the case.

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CHARTS AND SUMMARIES NOT ADMITTED INTO EVIDENCE

During the trial, certain charts and summaries were shown to you to help explain
the evidence in the case. These charts and summaries were not admitted into evidence and
will not go into the jury room with you. They are not themselves evidence or proof of any
facts. Ifthey do not correctly reflect the facts or figures shown by the evidence in the case,
you should disregard these charts and summaries and determine the facts from the

underlying evidence.

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oC Oo SID OH PSP WY NO

NO NO BO NH KN PO KR RO DN mm eee ea a ee
ao ny nD A FPF WOW NY K& COD ODO fF I Dn FP W YH KF CO

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CHARTS AND SUMMARIES ADMITTED INTO EVIDENCE

Certain charts and summaries have been admitted into evidence. Charts and
summaries are only as good as the underlying supporting material. You should, therefore,

give them only such weight as you think the underlying material deserves.

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o me SN DN UH BR WY YN

MO vO BR HO KH KN KN KN NO wR RR RR RB BE RR
oN DN UN BPW NYO KF COD OO OH HS DB NH BPW NO KS OC

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ACTIVITIES NOT CHARGED

You are here only to determine whether the defendant is guilty or not guilty of the
charges in the indictment. The defendant is not on trial for any conduct or offense not

charged in the indictment.

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Oo fF NI DWN FP WD NO

BO NH KN KN NK NY NO DN DD ea ee
oO “s N UH BP WY NK CO OO OH DR FR WD NY KF CO

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SEPARATE CONSIDERATION OF MULTIPLE COUNTS—
SINGLE DEFENDANT

A separate crime is charged against the defendant in each count. You must decide
each count separately. Your verdict on one count should not control your verdict on any

other count.

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Oo fe NI NHN OO Ff WD NO

NO wo PO HO WN HN KH PD DN wir ie em ime
Oo ND OH HP WHY NY K§ DTD OO fF NA HD NH FP W HN KF CO

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ON OR ABOUT—DEFINED

The second superseding indictment charges that the offense alleged in Counts 1-23
were committed “on or about” a certain date.

Although it is necessary for the government to prove beyond a reasonable doubt that
the offense was committed on a date reasonably near the date alleged in Counts 1-23 of the
second superseding indictment, it is not necessary for the government to prove that the

offense was committed precisely on the date charged.

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CONSIDERATION OF EVIDENCE—-CONDUCT OF THE JURY

Because you must base your verdict only on the evidence received in the case and
on these instructions, I remind you that you must not be exposed to any other information
about the case or to the issues it involves. Except for discussing the case with your fellow

jurors during your deliberations:

Do not communicate with anyone in any way and do not let anyone else
communicate with you in any way about the merits of the case or anything to do
with it. This restriction includes discussing the case in person, in writing, by phone,
tablet, computer, or any other means, via email, text messaging, or any Internet chat
room, blog, website or any other forms of social media. This restriction applies to
communicating with your family members, your employer, the media or press, and
the people involved in the trial. If you are asked or approached in any way about
your jury service or anything about this case, you must respond that you have been
ordered not to discuss the matter and to report the contact to the court.

Do not read, watch, or listen to any news or media accounts or commentary about
the case or anything to do with it; do not do any research, such as consulting
dictionaries, searching the Internet or using other reference materials; and do not
make any investigation or in any other way try to learn about the case on your own.

The law requires these restrictions to ensure the parties have a fair trial based on the

same evidence that each party has had an opportunity to address. A juror who violates
these restrictions jeopardizes the fairness of these proceedings , and a mistrial could result
that would require the entire trial process to start over. If any juror is exposed to any outside

information, please notify the court immediately.

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USE OF NOTES

Some of you have taken notes during the trial. Whether or not you took notes, you
should rely on your own memory of what was said. Notes are only to assist your memory.

You should not be overly influenced by your notes or those of your fellow jurors.

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Oo fF NX HD nH SP WY NY

NO wo NO NO NO YN PO KN Nw wm ee
oOo nN DO WW FP WD NO KF DT O CSC IT DB NH BP W NO KF CO

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JURY CONSIDERATION OF PUNISHMENT

The punishment provided by law for this crime is for the court to decide. You may
not consider punishment in deciding whether the government has proved its case against

the defendant beyond a reasonable doubt.

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WIRE FRAUD
(18 U.S.C. § 1343)

The defendant is charged in Counts 1-10 of the second superseding indictment with
wire fraud in violation of Section 1343 of Title 18 of the United States Code. For the
defendant to be found guilty of that charge, the government must prove each of the
following elements beyond a reasonable doubt:

First, the defendant knowingly participated in and/or devised a scheme or plan to
defraud, or a scheme or plan for obtaining money or property by means of false or
fraudulent pretenses, representations, or promises, or omitted facts. Deceitful statements of
half-truths may constitute false or fraudulent representations;

Second, the statements made or facts omitted as part of the scheme were material;
that is, they had a natural tendency to influence, or were capable of influencing, a person
to part with money or property;

Third, the defendant acted with the intent to defraud, that is, the intent to deceive
and cheat; and

Fourth, the defendant used, or caused to be used, an interstate wire communication
to carry out or attempt to carry out an essential part of the scheme.

In determining whether a scheme to defraud exists, you may consider not only the
defendant’s words and statements but also the circumstances in which they are used as a
whole.

To convict the defendant of wire fraud based on omissions of material facts, you
must find that the defendant had a duty to disclose the omitted facts arising out of a
relationship of trust. That duty can arise either out of a formal fiduciary relationship, or an
informal, trusting relationship in which one party acts for the benefit of another and induces
the trusting party to relax the care and vigilance that it would ordinarily exercise.

A wiring is caused when one knows that a wire will be used in the ordinary course

of business or when one can reasonably foresee such use.

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Co re INT DH OT FF WD NH

DO pO KN KF NHN KC KN KH HNO BB wm kk ee
oo st SO ON BP WHY NO KF CO OPH HN ON ON RB OB Dl CO

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It need not have been reasonably foreseeable to the defendant that the wire
communication would be interstate in nature. Rather, it must have been reasonably
foreseeable to the defendant that some wire communication would occur in furtherance of
the scheme, and an interstate wire communication must have actually occurred in

furtherance of the scheme.

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Oo Oo I HD OD FP W NH

NO bp dN HN KH HK KN HN Dew iw ee
Co sa ODO A F&F WH NO KF DT ODO fF ITD nH BP WD NO | O&O

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MAIL FRAUD—SCHEME TO DEFRAUD OR TO OBTAIN MONEY
OR PROPERTY BY FALSE PROMISES (18 U.S.C. § 1341)

The defendant is charged in Counts 11-12 of the second superseding indictment with
mail fraud in violation of Section 1341 of Title 18 of the United States Code. For the
defendant to be found guilty of that charge, the government must prove each of the
following elements beyond a reasonable doubt:

First, the defendant knowingly participated in and/or devised a scheme or plan to
defraud, or a scheme or plan for obtaining money or property by means of false or
fraudulent pretenses, representations, or promises, or omitted facts. Deceitful statements
of half-truths may constitute false or fraudulent representations;

Second, the statements made or facts omitted as part of the scheme were material;
that is, they had a natural tendency to influence, or were capable of influencing, a person
to part with money or property;

Third, the defendant acted with the intent to defraud; that is, the intent to deceive
and cheat; and

Fourth, the defendant used, or caused to be used, the mails to carry out or attempt
to carry out an essential part of the scheme.

In determining whether a scheme to defraud exists, you may consider not only the
defendant’s words and statements, but also the circumstances in which they are used as a
whole.

To convict the defendant of mail fraud based on omissions of material facts, you
must find that the defendant had a duty to disclose the omitted facts arising out of a
relationship of trust. That duty can arise either out of a formal fiduciary relationship, or an
informal, trusting relationship in which one party acts for the benefit of another and induces
the trusting party to relax the care and vigilance that it would ordinarily exercise.

A mailing is caused when one knows that the mails will be used in the ordinary
course of business or when one can reasonably foresee such use. It does not matter whether

the material mailed was itself false or deceptive so long as the mail was used as a part of

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oOo fe IND UN FF WO YPN

DO NY NO NNO KN KN DN DN DRO wR ieee
eo ADB On FP WD NO § DTD O COC ST DB WDA BP W HO KY CO

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the scheme, nor does it matter whether the scheme or plan was successful or that any money

or property was obtained.

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oO Oo aT DH A BP WY NO

DO NO WN HPO HN WN HP KD DH ew ee emt
Oo nt WD On BP WO NO KH OD OO FH HD NH FBP W NB KY OS

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TRANSACTIONAL MONEY LAUNDERING
(18 U.S.C. § 1957)

The defendant is charged in Counts 13-23 of the second superseding indictment with
money laundering in violation of Section 1957 of Title 18 of the United States Code. For
the defendant to be found guilty of that charge, the government must prove each of the
following elements beyond a reasonable doubt:

First, the defendant knowingly engaged or attempted to engage in a monetary
transaction;

Second, the defendant knew the transaction involved criminally derived property;

Third, the property had a value greater than $10,000;

Fourth, the property was, in fact, derived from the acts of Wire Fraud alleged in
Counts 1-10 of the second superseding indictment; and

Fifth, the transaction occurred in the United States.

The term “monetary transaction” means the deposit, withdrawal, transfer, or
exchange, in or affecting interstate commerce, of funds or a monetary instrument by,
through, or to a financial institution.

The term “financial institution” means an insured bank.

The term “criminally derived property” means any property constituting, or derived
from, the proceeds obtained from a criminal offense. The government must prove that the
defendant knew that the property involved in the monetary transaction constituted, or was
derived from, proceeds obtained by some criminal offense. The government does not have
to prove that the defendant knew the precise nature of that criminal offense, or knew the
property involved in the transaction represented the proceeds of wire fraud.

Although the government must prove that, of the property at issue more than
$10,000 was criminally derived, the government does not have to prove that all the property

at issue was criminally derived.

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Oo Oo ND OO FP WD NO

NO NO NO NY DN HN NN KN DN we i iw
Oo ND OH FP WO NY KF DTD OD fF AT DB nH BP WW NYO K& OC

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MATERIAL OMISSIONS - LENDERS

The government has contended that Mr. Harbour omitted advising lenders of a
variety of circumstances that the government contends amounted to material omissions. In
certain circumstances, as I have instructed, material omissions can support allegations of
fraudulent conduct. Lenders and borrowers, by the nature of that legal relationship, do not
usually have special, trusting relationships in which one part acts for the benefit of another
and induces the trusting party to relax the care and vigilance that it would ordinarily
exercise.

To find that a special relationship existed between Mr. Harbour and any of the
lenders, you must find that the relationship was a trusting relationship, such that Mr.
Harbour was bound to act for the benefit of the lender.

Ifa special relationship exists between Mr. Harbour and a lender, you may consider
whether Mr. Harbour omitted advising lenders of a variety of circumstances amounting to
material omissions.

Ifno special relationship existed between Mr. Harbour and a lender, only knowingly
made affirmative material misrepresentations can support a conviction for mail fraud or

wire fraud.

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MATERIAL OMISSIONS —- INVESTORS
Mr. Harbour owed a duty to investors not to materially omit making disclosures
that, had they been made, would have had a natural tendency to influence or capable of
influencing investors to not part with money or property. It is up to the government to prove
beyond a reasonable doubt that, with respect to investors that Mr. Harbour willfully omitted
facts that, had they been disclosed to investors would have caused investors not to part with

money or property.

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oO eH IN DB A FF WD YN =

DO BO NO NHN NH KN KH KH Dw BR wm i pee
oOo sa DN UW BPW NH KH DOD OO TF HIT DH FP W NY KF CO

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WIRE FRAUD — VICTIM’S CONDUCT

A victim’s negligence is not a defense to wire fraud. You have heard evidence
regarding investors’ process for deciding whether to invest money with Mr. Harbour. You
are to consider this evidence to the extent that it helps you determine whether Mr. Harbour
made false or fraudulent pretenses, representations, omissions of material fact or promises
as part of a scheme or plan to defraud (see prior Wire Fraud instruction).

You may also consider this evidence to the extent that it helps you determine
whether the statements made or facts omitted as part of the alleged scheme were material;
that is, whether they had a natural tendency to influence, or were capable of influencing, a

person to part with money or property (see prior Wire Fraud instruction).

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co eo ITD NN FF WD LWP

DO dO HN BH KN HN HN HN ND KR eB iw ome eee
on NI HD OW FF WD HO —&!& DT O CO AT DB WH BP WW LPO K CO

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OTHER CRIMES, WRONGS, OR ACTS OF DEFENDANT

You have heard testimony and seen evidence that the defendant submitted two false
gift letters in relation to a home purchase. This evidence of other acts was admitted only
for limited purposes. You may consider this evidence only for the purpose of deciding
whether the defendant: had the state of mind, knowledge, or intent necessary to commit the
crime charged in the indictment; and, did not commit the acts for which the defendant is
on trial by accident or mistake. Do not consider this evidence for any other purpose.

Of course, it is for you to determine whether you believe this evidence and, if you
do believe it, whether you accept it for the purpose offered. You may give it such weight
as you feel it deserves, but only for the limited purpose that I described to you.

The defendant is not on trial for committing these other acts. You may not consider
the evidence of these other acts as a substitute for proof that the defendant committed the
crimes charged. You may not consider this evidence as proof that the defendant has a bad
character or any propensity to commit crimes. Specifically, you may not use this evidence
to conclude that because the defendant may have committed the other acts, he must also
have committed the acts charged in the indictment.

Remember that the defendant is on trial here only for wire fraud, mail fraud, and
transactional money laundering, not for these other acts. Do not return a guilty verdict
unless the government proves the crimes charged in the indictment beyond a reasonable

doubt.

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Co Oe ST DB UH FP WY NY

NO NO NHN HN KH KR KH KN ND em Bw eet
eo NY HD On FP W NY KF TD O DOH AN DH FPF WO NO KF CO

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REGULATORY VIOLATIONS
You have heard reference at times during the trial to federal regulations enforced by
Federal Trade Commission (“FTC”) and the Securities Exchange Commission (“SEC”). In
and of itself, a violation of these regulations, principles, standards, or guidelines does not

establish a violation of the criminal law.

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oO me ND OH PSP W NO

NO NPO NO BL HN BP KH KDR DN BH Bim meee
on NI HD WA FP W NYO KF COD ODO fF aD DB AH FP WO HPO KF CSC

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INTENT TO DEFRAUD AND GOOD FAITH
An essential element of each crime charged is intent to defraud. A person who acts
on a belief or opinion honestly held is not punishable under these statutes merely because

his or her opinion or belief turns out to be wrong.

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Co fF SND OH FSF WD YN —

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KNOWINGLY

An act is done knowingly if the defendant is aware of the act and does not act or
fails to act through ignorance, mistake, or accident. The government is not required to
prove that the defendant knew that his acts or omissions were unlawful. You may consider
evidence of the defendant’s words, acts, or omissions, along with all the other evidence, in

deciding whether the defendant acted knowingly.

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INTENT TO DEFRAUD

An intent to defraud is an intent to deceive or cheat.

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STATUTE OF LIMITATIONS IN CONNECTION WITH MAIL FRAUD
CHARGES

The Defendant contends that the charges in Courts 11 and 12 were filed after the
expiration of the statute of limitations. The Government has the burden of proving beyond
a reasonable doubt that the charges were filed before the expiration of the statute of

limitations.

The indictment in this case charging Counts 11 and 12 was filed on November 24,
2020. The statute of limitations for the charges in Counts 11 and 12 of this case, mail fraud,
is five years from the completion of the fraud. In a mail fraud case, the offense is deemed
completed when the proceeds of the alleged fraud have been received by the alleged
perpetrator of the fraud or on the latest date on which the defendant acts to prevent
discovery of the fraud or to permit further fraudulent activities to progress unhindered.

Therefore, with respect to Counts 11 or 12, charging the Defendant with mail fraud,
if you find that the Government has not proved beyond a reasonable doubt that the charges
were filed within 5 years from the completion of the fraud, you must find the Defendant

not guilty of those charges.

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DUTY TO DELIBERATE

When you begin your deliberations, elect one member of the jury as your foreperson
who will preside over the deliberations and speak for you here in court.

You will then discuss the case with your fellow jurors to reach agreement if you can
do so. Your verdict, whether guilty or not guilty, must be unanimous.

Each of you must decide the case for yourself, but you should do so only after you
have considered all the evidence, discussed it fully with the other jurors, and listened to the
views of your fellow jurors.

Do not be afraid to change your opinion if the discussion persuades you that you
should. But do not come to a decision simply because other jurors think it is right.

It is important that you attempt to reach a unanimous verdict but, of course, only if
each of you can do so after having made your own conscientious decision. Do not change
an honest belief about the weight and effect of the evidence simply to reach a verdict.

Perform these duties fairly and impartially. You should also not be influenced by
any person’s race, color, religious beliefs, national ancestry, sexual orientation, gender
identity, gender, or economic circumstances. Also, do not allow yourself to be influenced
by personal likes or dislikes, sympathy, prejudice, fear, public opinion, or biases, including
unconscious biases. Unconscious biases are stereotypes, attitudes, or preferences that
people may consciously reject but may be expressed without conscious awareness, control,
or intention.

It is your duty as jurors to consult with one another and to deliberate with one
another with a view towards reaching an agreement if you can do so. During your
deliberations, you should not hesitate to reexamine your own views and change your

opinion if you become persuaded that it is wrong.

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VERDICT FORM

A verdict form has been prepared for you. After you have reached unanimous
agreement on a verdict, your foreperson should complete the verdict form according to
your deliberations, sign and date it, and advise the bailiff that you are ready to return to the

courtroom.

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COMMUNICATION WITH COURT

If it becomes necessary during your deliberations to communicate with me, you may
send a note through the bailiff, signed by any one or more of you. No member of the jury
should ever attempt to communicate with me except by a signed writing, and I will respond
to the jury concerning the case only in writing or here in open court. If you send out a
question, I will consult with the lawyers before answering it, which may take some time.
You may continue your deliberations while waiting for the answer to any question.
Remember that you are not to tell anyone—including me—how the jury stands,
numerically or otherwise, on any question submitted to you, including the question of the
guilt of the defendant, until after you have reached a unanimous verdict or have been

discharged.

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